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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  TIMOTHY KING, et al.,

                  Plaintiffs,
  v.                                                Case No. 20-13134
                                                    Honorable Linda V. Parker
  GRETCHEN WHITMER, et al.,

                 Defendants,

  and

  CITY OF DETROIT,
  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY, and
  ROBERT DAVIS,

            Intervenor-Defendants.
  _____________________________/

                                       ORDER

        This matter is presently before the Court on Plaintiffs’ Motion for Extension

of Time to File Response/Reply to Motion for Sanctions Against Plaintiffs and

Plaintiffs’ Counsel (ECF No. 74) and Intervenor-Defendant Robert Davis’

Emergency Motion to Strike Motion for Extension of Time to File Response/Reply

to Motion for Sanctions Against Plaintiffs and Plaintiffs’ Counsel (ECF No. 75).
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      IT IS ORDERED that the Clerk’s Office shall correct the docket entry text

associated with Plaintiffs’ motion (ECF No. 74) so that the filing party is noted as

“All Plaintiffs”—not “Robert Davis.”

      IT IS FURTHER ORDERED that Plaintiffs’ Motion for Extension of

Time to File Response/Reply to Motion for Sanctions Against Plaintiffs and

Plaintiffs’ Counsel (ECF No. 74) is GRANTED. Plaintiffs shall file a response by

no later than 5:00 PM on January 19, 2021.

      IT IS FURTHER ORDERED that Intervenor-Defendant Robert Davis’

Emergency Motion to Strike Motion for Extension of Time to File Response/Reply

to Motion for Sanctions Against Plaintiffs and Plaintiffs’ Counsel (ECF No. 75) is

DENIED AS MOOT.

      IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE

 Dated: January 5, 2021




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